                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


GOVERNMENT OF THE UNITED
STATES VIRGIN ISLANDS,

                         Plaintiff,

v.

JPMORGAN CHASE BANK, N.A.,
                                                 Case No. 22-cv-10904 (JSR)
                         Defendant/Third-Party
                         Plaintiff.


JPMORGAN CHASE BANK, N.A.,

Third-Party Plaintiff,

v.

JAMES EDWARD STALEY,

Third-Party Defendant.




      DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO DISMISS
     PLAINTIFF GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
                    SECOND AMENDED COMPLAINT
          JPMorgan Chase Bank, N.A. (“JPMC”) respectfully submits this Motion to Dismiss the

Government of the United States Virgin Islands’ (“USVI”) Second Amended Complaint. JPMC

recognizes that the Court has previously considered and rejected these arguments in connection

with JPMC’s previous motions, and submits this motion only to preserve these arguments for

appeal.

I.        USVI’S COMPLAINT SHOULD BE DISMISSED 1

          A.     USVI’s Complaint Fails to State a Claim for Violation of the TVPA (Count I)

          First, USVI’s TVPA claim fails because §1595(d) does not apply retroactively. See

Adhikari v. Kellogg Brown & Root, Inc., 845 F.3d 184, 204-205 (5th Cir. 2017); Dkt. 40 at 4-5;

Dkt. 56 at 1-2. Second, USVI fails to plead facts sufficient to establish parens patriae standing.

See Alfred L. Snapp & Son, Inc. v. P.R. ex rel. Barez, 458 U.S. 592, 607 (1982); Dkt. 40 at 5-7;

Dkt. 56 at 2-3. And, third, USVI does not plead fact sufficient to state a claim under the TVPA

because it fails to allege participation in, knowledge of, or benefit from sex trafficking. Dkt. 40 at

7-14; Dkt. 56 at 3-6 (same).

          B.     USVI’s Complaint Fails to State a Claim for Obstruction under §1591(d)
                 (Count V)

          USVI’s obstruction claim fails, first, as stated above, because §1595(d) does not apply

retroactively and USVI has not established parens patriae standing. See Dkt. 40 at 4-7; Dkt. 56

at 1-3. Its obstruction claim also fails because it fails to explain how an “alleged failure to file

SARs” constitutes obstruction, Doe v. JPMC, 22-cv-10019 (S.D.N.Y.), Dkt. 46 at 28, and fails to



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 While USVI’s proposed Second Amended Complaint includes Counts II (CICO - TVPA), III
(CICO – BSA), and IV (USVI CFDBPA), those counts are unmodified from USVI’s First
Amended Complaint and were previously dismissed by this Court. Dkt. 90. To the extent
necessary, JPMC renews its motion to dismiss those counts for the reasons stated in it its prior
motion to dismiss. Dkt. 40 at 14-25; Dkt. 56 at 7-10.
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plead what ongoing enforcement effort JPMC’s conduct knowingly obstructed, see id. at 29; Dkt.

111 at 3-5; see also United States v. Farah, 766 F.3d 599, 612 (6th Cir. 2014).



 Dated: April 24, 2023                            Respectfully submitted,

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